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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF PUERTO RICO

IVETTE M. MARTINEZ GONZALEZ, ET
AL.,

Plaintiffs,

CATHOLIC SCHOOLS OF THE
ARCHIDIOCESES OF SAN ]UAN
PENSION PLAN, ET AL.,

Defendants.

 

NORMA I. CARDOZA-ESTREMERA, ET
AL.,

Plaintiffs,

COLEGIO PADRE BERRIOS, ET AL.,

Defendants.

 

 

CIVIL No. 16-2077 (GAG-B]M)
(LEAD)

CIvIL No. 16-2318 (GAG-B]M)

APPEARANCE OF COUNSEL

To the Clerk of Court and all parties of record:

I am admitted to practice in this court and, and I appear in this case as counsel for

Catholic Schools of the Archdioceses of San ]uan Pension Plan, the Superintendence of

Catholic Schools of the Archdioceses of San ]uan, and Samuel Soto.

Dated: Novernber 7, 2017

Respectfully submitted,

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CERTIFICATE OF SERVICE
I certify that, on this day, the foregoing Was electronically filed With the Clerk of
Court by using the CM/ECF system, Which Will send a notice of electronic filing to all

counsel of record.

By: /s/ Arturo V. Bauermeister

